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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                8:13CR240
       vs.                                     )
                                               )                 ORDER
BOBBY GRIFFIN                                  )
KRISTEN GRIFFIN,                               )
SHARON KAY TYLER,                              )
                                               )
                     Defendants.


       This matter is before the court is defendant Bobby Griffin’s motion to continue trial
[40] as counsel needs additional time to prepare for trial. The court finds good cause
being shown and the trial for all defendants will be continued.

       IT IS ORDERED that the motions to continue trial is granted, as follows:

       1. The jury trial now set for November 19, 2013 is continued to January 7, 2014.

       2. Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and January 7, 2014, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED October 31, 2013.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
